Case 13-21319-LMI

B6 Summary (Official Form 6 - Summary) (12/07)

United States Bankruptcy Court

Southern District of Florida

In re Salvador M Blanco

 

SUMMARY OF SCHEDULES

Debtor

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Case No.

 

Chapter. 7

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NAME OF SCHEDULE ATTACHED | NO. OF ASSETS LIABILITIES OTHER
(YES/NO) SHEETS

A - Real Property Yes 1 158,843.00
B - Personal Property Yes 3 3,141.10 Fe
C - Property Claimed as Exempt Yes 1
D - Creditors Holding Secured Claims Yes 1 180,887.88
E - Creditors Holding Unsecured Yes 1 0.00

Priority Claims (Total of Claims on Schedule E)
F - Creditors Holding Unsecured Yes 2 3,554.00

Nonpriority Claims
G - Executory Contracts and Yes 1

Unexpired Leases
H - Codebtors Yes 1
I- Current Income of Individual Yes 4 1,513.00

Debtor(s)
J - Current Expenditures of Individual Yes 4 1,602.00

Debtor(s)

Total Number of Sheets of ALL Schedules 13
Total Assets 161,984.10
Total Liabilities 184,441.88

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Best Case Bankruptcy

 
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Form 6 - Statistical Sammary (12/07)

United States Bankruptcy Court
Southern District of Florida

In re Salvador M Blanco Case No.

 

 

Debtor
Chapter. 7

STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U-S.C.§ 101(8)), filing
a case under chapter 7, 11 or 13, you must report all information requested below.

O Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
report any information here.

This information is for statistical purposes only under 28 U.S.C. § 159.
Summarize the following types of liabilities, as reported in the Schedules, and total them.

 

 

 

 

 

 

 

 

Type of Liability Amount
Domestic Support Obligations (from Schedule E) 0.60
Taxes and Certain Other Debts Owed to Governmental Units 0.00
(from Schedule E) -
Claims for Death or Personal Injury While Debtor Was Intoxicated 0.00
(from Schedule E) (whether disputed or undisputed) .
Student Loan Obligations (from Schedule F) 0.00
Domestic Support, Separation Agreement, and Divorce Decree 0.00
Obligations Not Reported on Schedule E .
Obligations to Pension or Profit-Sharing, and Other Similar Obligations 0.00
(from Schedule F) .
TOTAL 0.00

 

State the following:

 

 

 

Form 22B Line 11; OR, Form 22C Line 20 )

Average Income (from Schedule I, Line 16) 1,513.00
Average Expenses (from Schedule J, Line 18) 1,602.00
Current Monthly Income (from Form 22A Line 12; OR, 0.00

 

State the following:

 

1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
column

 

22,044.88

 

2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY”
column

 

3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
PRIORITY, IF ANY" column

  

0.00

 

 

4. Total from Schedule F

 

 

5. Total of non-priority unsecured debt (sum of 1, 3, and 4)

 

 

 

 

 

3,554.00

 

 

 

25,598.88

 

 

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Best Case Bankruptcy
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B6A (Official Form 6A) (12/07)

In re Salvador M Blanco Case No.
Debtor

 

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," “W,"
"J," or "C" in the column labeled “Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

 

 

 

Husband reurrent Value of
i ebtor’s Interest in
Description and Location of Property Nature of Pron line or Property, without gfmount of
Community Deducting any Secured
ty “Claim or Exemption
Homestead: Fee simple - 158,843.00 180,887.88
1715 sw 23 Terrace, Miami, Florida 33145.
NEW SHENANDOAH PB 10-55 LOT 22
BLK 35 LOT SIZE
50.000 X 117 OR 21145-0286
04 2003 4 COC 24801-4422 07
2006 1 OR 26921-3923 0609 12
Sub-Total > 158,843.00 (Total of this page)
Total > 158,843.00

Q continuation sheets attached to the Schedule of Real Property (Report also on Summary of Schedules)

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Case 13-21319-LMI

B6B (Official Form 6B) (12/07)

In re Salvador M Blanco

 

Debtor

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Case No.

 

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place

an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and

 

Type of Property

mMAOZ

Description and Location of Property

Husband,

Current Value of

Wife, Debtor's Interest in Property,

Joint, or

without Deducting any

Community Secured Claim or Exemption

 

10.

~2_

Cash on hand

Checking, savings or other financial

accounts, certificates of deposit, or
shares in banks, savings and loan,
thrift, building and loan, and
homestead associations, or credit
unions, brokerage houses, or
cooperatives.

Security deposits with public
utilities, telephone companies,
landlords, and others.

Household goods and furnishings,
including audio, video, and
computer equipment.

Books, pictures and other art
objects, antiques, stamp, coin,
record, tape, compact disc, and
other collections or collectibles.

Wearing apparel.
Furs and jewelry.

Firearms and sports, photographic,
and other hobby equipment.

Interests in insurance policies.
Name insurance company of each
policy and itemize surrender or
refund value of each.

Annuities. Itemize and name each
issuer.

Spending Cash

First Bank of Miami:

Checking Account: 0110023544

Business Checking Account:
Salvador Productions, Inc
Account Number: 0130016624

Furnishings:

Living Room: Sofa and tv Coffee Table, Dining
Room: One Table and 6 chairs. Room Number One:
One Bed Room Number Two: One Bed and tv, one
night stand Room Number Three: One Bed and two

night stands.

Clothing

continuation sheets attached to the Schedule of Personal Property

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50.00

294.80

1.30

500.00

150.00

 

Sub-Total >
(Total of this page)

986.10

Best Case Bankruptcy
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B6B (Official Form 6B) (12/07) - Cont.

In re Salvador M Bianco Case No.

 

 

Debtor

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

Husband, Current Value of
Type of Property Description and Location of Property wae or Debtor's In Seductine on”

Community Secured Claim or Exemption

 

“| ™z0z

11. Interests in an education IRA as
defined in 26 U.S.C. § 530(b}(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately the
record(s) of any such interest(s).

11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or X
other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorporated Salvador Productions, Inc - Unknown

and unincorporated businesses.
Itemize.

14, Interests in partnerships or joint Xx
ventures. Itemize.

15. Government and corporate bonds X
and other negotiable and
nonnegotiable instruments.

16. Accounts receivable. xX

17. Alimony, maintenance, support, and X
property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to debtor X
including tax refunds. Give particulars.

19. Equitable or future interests, life xX
estates, and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.

20. Contingent and noncontingent X
interests in estate of a decedent,
death benefit plan, life insurance
policy, or trust.

21. Other contingent and unliquidated Xx
claims of every nature, including
tax refunds, counterclaims of the
debtor, and rights to setoff claims.
Give estimated value of each.

 

Sub-Total > 0.00
(Total of this page)

Sheet 1 of _2 _ continuation sheets attached

to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.

In re Salvador M Blanco

Case No.

 

 

Debtor

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

Type of Property

Husband, Current Value of
Wife, Debtor's Interest in Property,
Joint, or without Deducting any

Community Secured Claim or Exemption

Description and Location of Property

 

22.

23.

24.

25.

26.
27,
28.

29.

30.
31.
32.

33.

34.

35.

Patents, copyrights, and other
intellectual property. Give
particulars.

Licenses, franchises, and other
general intangibles. Give
particulars.

Customer lists or other compilations
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor
by individuals in connection with
obtaining a product or service from
the debtor primarily for personal,
family, or household purposes.

Automobiles, trucks, trailers, and
other vehicles and accessories.

Boats, motors, and accessories.
Aircraft and accessories.

Office equipment, furnishings, and
supplies.

Machinery, fixtures, equipment, and
supplies used in business.

Inventory.
Animals.

Crops - growing or harvested. Give
particulars.

Farming equipment and
implements.

Farm supplies, chemicals, and feed.

Other personal property of any kind
not already listed. Itemize.

x} mz0oz

Ford Explorer 2003 - 842.00

Ford Explorer 2003 80k - 1,303.00
Car is not functioning

 

Sub-Total > 2,145.00
(Total of this page)
Total > 3,141.10

Sheet 2 of 2 _ continuation sheets attached

to the Schedule of Personal Property

Capyright (c) 1996-2009 - Best Case Solutions - Evanston, IL - (800) 492-8037

(Report also on Summary of Schedules)

Best Case Bankruptcy
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B6C (Official Form 6C) (42/07)

In re Salvador M Blanco Case No.

 

 

Debtor

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under: C Check if debtor claims a homestead exemption that exceeds
(Check one box) $136,875.

OF 11 U.S.C. §522(b)(2)

Wi 11 U.S.C. §522(b)(3)

 

 

: + as Value of Current Value of
ati Specify Law Providing : 4
Description of Property : Claimed Property Without
Each Exemption Exemption Dedueting Exemption
Real Property
Homestead: Fla. Const. art. X, § 4(a}(1); Fla. Stat. 0.00 158,843.00
1715 sw 23 Terrace, Miami, Florida 33145. Ann. §§ 222.01, 222.02, 222.05
NEW SHENANDOAH PB 10-55 LOT 22
BLK 35 LOT SIZE
50.000 X 117 OR 21145-0286
04 2003 4 COC 24801-4422 07
2006 1 OR 26921-3923 0609 12
Cash on Hand
Spending Cash Fla. Const. art. X, § 4(a)(2) 50.00 50.00
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
First Bank of Miami: Fla. Const. art. X, § 4(a)(2) 0.00 589.59
Checking Account: 0110023544 Fla. Const. art. X, § 4(a)(2) 294.80
Business Checking Account: Fla. Const. art. X, § 4(a)(2) 1.30 1.30

Salvador Productions, Inc
Account Number: 0130016624

* Household Goods and Furnishings
Furnishings: Fla. Const. art. X, § 4(a)(2) 500.00 500.00

Living Room: Sofa and tv Coffee Table, Dining
Room: One Table and 6 chairs. Room Number
One: One Bed Room Number Two: One Bed and
tv, one night stand Room Number Three: One
Bed and two night stands.

Wearing Apparel

 

Clothing Fla. Const. art. X, § 4(a)(2) 150.00 150.00

Automobiles, Trucks, Trailers, and Other Vehicles

Ford Explorer 2003 Fla. Stat. Ann. § 222.25(1) 842.00 842.00
Total: 1,838.10 160,975.89

0 _ continuation sheets attached to Schedule of Property Claimed as Exempt

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Case 13-21319-LMI Doc14 Filed 06/06/13 Page 8 of 26

B6D (Official Form 6D) (12/07)

In re Salvador M Blanco Case No.

 

 

Debtor

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
if the debter chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
other security interests.

List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an “H", "W", "J", or "C" in the column labeled “Husband, Wife, Joint, or Community".

If the claim is contingent, place an "X” in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
claim is disputed, place an "X" in the column labeled “Disputed”. (You may need to place an "X" in more than one of these three columns.)

Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled “Total(s)" on the last
sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
primarily consumer debts, report the total from the column labeled “Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.

(Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C | Husband, Wife, Joint, or Community cjuto AMOUNT OF
t °o OT NII
AND RTL ADDRESS O}u DATE CLAIM WAS INCURRED, NIL] s witaor UNSECURED
INCLUDING ZIP CODE Ew NATURE OF LIEN, AND Tlalul pep fou PORTION. IF
AND ACCOUNT NUMBER TI DESCRIPTION AND VALUE Np ult ‘F rat OF ANY ”
(See instructions above.) R}° SUBIR er LIEN E}/0| COLLATERAL
Account No. First Mortgage r E
Homestead: . D
. 1715 sw 23 Terrace, Miami, Florida
Freedom Mortgage Corporation 33145.
907 Pleasant Valley Avenue NEW SHENANDOAH PB 10-55 LOT 22
Mount Laurel, NJ 08054 . [50.000 X 117 OR 21145-0286
04 2003 4 COC 24801-4422 07
Value $ 158,843.00 180,887.88 22,044.88
Account No.
Value $
Account No.
Value $
Account No.
Value $
Subtotal
0 continuation sheets attached . 180,887.88 22,044.88
— (Total of this page)
Total 180,887.88 22,044.88
(Report on Summary of Schedules)

 

 

 

 

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B6E (Official Form 6E) (12/07)

In re Salvador M Blanco Case No.
Debtor

 

 

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
continuation sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an °H," "W," "J," or °C" in the column labeled "Husband, Wife, Joint, or Community.” If the claim is contingent, place an "X" in the
column labeled “Contingent.” If the claim is unliquidated, place an "X" in the column labeled “Unliquidated." If the claim is disputed, place an "X" in the column labeled
"Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
"Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
also on the Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
total also on the Statistical Summary of Certain Liabilities and Related Data.

Wi Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

C1 Domestic support obligations

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C, § 507(a)(1).

OF Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
trustee or the order for relief. 11 U.S.C. § 507(aX3).

OO Wages, salaries, and commissions

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
representatives up to $10,950* per person eared within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

(J Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
whichever occurred first, to the extent provided in 11 U.S.C. § 507(a}(5).

OO Certain farmers and fishermen
Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a}(6).

0) Deposits by individuals
Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
delivered or provided. 11 U.S.C. § 507(a)(7).

0 Taxes and certain other debts owed to governmental units
Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(aX8).

(1 Commitments to maintain the capital of an insured depository institution

Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

0 Claims for death or personal injury while debtor was intoxicated

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
0 continuation sheets attached

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Case 13-21319-LMI

B6F (Official Form 6F) (12/07)

In re Salvador M Blanco

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Case No.

 

Debtor

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
debtor or the property of the debtor, as of the date of filing of the petition. The complete acceunt number of any account the debtor has with the creditor is useful to the
trustee and the creditor and may be provided if the debtor chooses to do so. Ifa minor child is a creditor, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child’s name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
include claims listed in Schedules D and E. [f all creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H,” "W," "J," or "C" in the column labeled “Husband, Wife, Joint, or Community.”

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
claim is disputed, place an “X” in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

(1 Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR'S N AME, g Husband, Wife, Joint, or Community g U D
INCLUDING ziP Cobe Elm] coRADECKAIM WAS INCURRED AND TTTELE
: B . IM 17ayy
(See instructions above.) e c g \ E
NIA
Account No. Credit card purchases TIT
D
CITGO/CBNA
PO BOX 66044 -
Anaheim, CA 92816
0.00
Account No.
GECRB/CARE CREDIT
PO BOX 965036 -
Orlando, FL 32896
333.00
Account No. Medical Bill
Medical Accounts Systems
1221 SW 27 Avenue -
Miami, FL 33135
574.00
Account No. Other
Merchants Assoc cool D
134 S Tampa St -
Tampa, FL 33602
142.00
oo. Subtotal
1 __ continuation sheets attached (Total of this page) 1,049.00

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$/N:42045-091012 Sest Case Bankruptcy
Case 13-21319-LMI

B6F (Official Form 6F) (12/07) - Cont.

In re Salvador M Blanco

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Case No.

 

 

Debtor

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR'S NAME. 6 Husband, Wife, Joint, or Community 6 y p
: D nit|s
OUD INC TP CORE E |t DATE CLAIM WAS INCURRED AND [| |?
AND ACCOUNT NUMBER a CONSIDERATION FOR CLAIM, IFCLAIM  |\|G1+1 AMOUNT OF CLAIM
: : Ole IS SUBJECT TO SETOFF, SO STATE. Gli ]é
(See instructions above.) R E ° D
Account No. XxXxxxx4223 Other r E
D
MIDLAND FUNDING
8875 AERO DR STE 200 -
San Diego, CA 92123
872.00
Account No. Other
NRS/RECEIVA
PO BOX 8005 :
Cleveland, TN 37320
70.00
Account No.
TARGET NATIONAL BANK
PO BOX 673 -
MINNEAPOLIS
Minneapolis, MN 55440
780.00
Account No. Repossession
Wells Fargo Bank
1250 Montego Way -
Wainut Creek, CA 94598
783.00
Account No.
Sheet no. 1 of 1 sheets attached to Schedule of Subtotal 2 505.00
Creditors Holding Unsecured Nonpriority Claims (Total of this page) _
Total
3,554.00

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(Report on Summary of Schedules)

 

 

Best Case Bankruptcy

 
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B6G (Official Form 6G) (12/07)

In re Salvador M Blanco Case No.

 

 

Debtor

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
of debtor's interest in contract, i.c., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
complete mailing addresses of all other parties to each lease or contract described. Ifa minor child is a party to one of the leases or contracts,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

Mi Check this box if debtor has no executory contracts or unexpired leases.

 

sts : : Description of Contract or Lease and Nature of Debtor's Interest.
Name and Mailing Address, Including Zip Code, tate whether lease is for nonresidential real property.
of Other Parties to Lease or Contract State contract number of any government contract.

 

0
continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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Case 13-21319-LMI Doc14 Filed 06/06/13 Page 13 of 26

B6H (Official Form 6H) (12/07)

In re Salvador M Blanco Case No.

 

Debtor

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
by the nondebtor spouse during the eight years immediately preceding the commencement of this case. Ifa minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian,” Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

@ Check this box if debtor has no codebtors.
NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

0
continuation sheets attached to Schedule of Codebtors

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B6I (Official Form 61) (12/07)

Inre Salvador M Blanco
Debtor(s)

SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

Case No.

 

The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is

filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
RELATIONSHIP(S): AGE(S):
Married Son 20
Employment: DEBTOR SPOUSE
Occupation advertisement consultant Housewife
Name of Employer Independent Housewife
How long employed 15
Address of Employer 1715 SW 23 Terrace 1715 SW 23 Terrace
Miami, FL 33145 Miami, FL 33145
INCOME: (Estimate of average or projected monthly income at time case filed) DEBTOR SPOUSE
1, Monthly gross wages, salary, and commissions (Prorate if not paid monthly) $ 0.00 $ 0.00
2. Estimate monthly overtime $ 0.00 $ 0.00
3. SUBTOTAL | $ 0.00 $ 0.00]
4. LESS PAYROLL DEDUCTIONS
a. Payroll taxes and social security $ 0.00 $ 0.00
b. Insurance $ 0.00 $ 0.00
c. Union dues $ 0.00 $ 0.00
d. Other (Specify): $ 0.00 $ 0.00
$ 0.00 $ 0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS $ 0.006 $ 0.00
6. TOTAL NET MONTHLY TAKE HOME PAY $ 0.00 $ 0.00
7. Regular income from operation of business or profession or farm (Attach detailed statement) $ 1,200.00 $ 0.00
8. Income from real property $ 0.00 $ 0.00
9. Interest and dividends $ 0.00 $ 0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
dependents listed above $ 0.00 $ 0.00
11. Social security or government assistance
(Specify): Food Stamps $ 313.00 $ 0.00
$ 0.00 $ 0.00
12. Pension or retirement income $ 0.00 $ 0.00
13. Other monthly income
(Specify): $ 0.00 $ 0.00
$ 0.00 $ 0.00
14. SUBTOTAL OF LINES 7 THROUGH 13 $ 1513.00. § 0.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14) $ 1513.00. $ 0.00
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15) $ 1,513.00

(Report also on Summary of Schedules and, if applicable, on
Statistical Summary of Certain Liabilities and Related Data)

 

 

 

 

17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J) (12/07)

Inre Salvador M Blanco Case No.
Debtor(s)

 

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly

expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

O Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of

expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)

a. Are real estate taxes included? Yes ____ No _X
b. Is property insurance included? Yes___ No_X
2, Utilities: a. Electricity and heating fuel

b. Water and sewer
c. Telephone
d. Other Internet
3. Home maintenance (repairs and upkeep)
4. Food
5. Clothing
6. Laundry and dry cleaning
7, Medical and dental expenses
§. Transportation (not including car payments)
9, Recreation, clubs and entertainment, newspapers, magazines, etc.
10. Charitable contributions
11. Insurance (not deducted from wages or included in home mortgage payments)
a. Homeowner's or renter's
b. Life
c. Health
d. Auto
e. Other
12. Taxes (not deducted from wages or included in home mortgage payments)
(Specify)
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the

plan)

 

 

a. Auto
b. Other
c. Other
14, Alimony, maintenance, and support paid to others
15, Payments for support of additional dependents not living at your home
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
17. Other
Other

 

 

 

 

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)

19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

$0.00

250.00
100.00
81.00
51.00
0.00
500.00
0.00
0.00
60.00
400.00
0.00
0.00

0.00
0.00
0.00
160.00
0.00

AA HAMS PRAABPHH HHH Se

0.00

fA

0.00
0.00
0.00
0.00
0.00
0.00
0.00
0.00

 

 

wf AAP HAD FHM

1,602.00]

 

 

 

20. STATEMENT OF MONTHLY NET INCOME

a. Average monthly income from Line 15 of Schedule I
b. Average monthly expenses from Line 18 above

c. Monthly net income (a. minus b.)

1,513.00
1,602.00
-89.00

Fo
Case 13-21319-LMI Doc14 _ Filed 06/06/13 Page 16 of 26

B6 Declaration (Official Form 6 - Declaration). (12/07)

United States Bankruptcy Court
Southern District of Florida

Inre Salvador M Blanco Case No.

 

Debtor(s) Chapter 7

 

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that | have read the foregoing summary and schedules, consisting of
14 _ sheets, and that they are true and correct to the best of my knowledge, information, and belief.

of »
> / tte Vv?

 

 

Date June 6, 2013 Signature /stSa' r M Blanco
Salvador M Blanco
Debtor

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

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B7 (Official Form 7) (12/07)

United States Bankruptcy Court
Southern District of Florida

Inre _ Salvador M Blanco Case No.

 

Debtor(s) Chapter 7

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian.” Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

Questions | - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

DEFINITIONS

"In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

"Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

 

1. Income from employment or operation of business

None State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
Oo business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
year to the date this case was commenced, State also the gross amounts received during the two years immediately preceding this
calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE
$7,500.00 2013 YTD: Husband Independent

2. Income other than from employment or operation of business

None State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
a during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

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3. Payments to creditors
None Complete a. or b., as appropriate, and c.

a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS DATES OF AMOUNT STILL
OF CREDITOR PAYMENTS AMOUNT PAID OWING

None b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
a immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT
DATES OF PAID OR
PAYMENTS/ VALUE OF AMOUNT STILL
NAME AND ADDRESS OF CREDITOR TRANSFERS TRANSFERS OWING

None ¢. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
Ez creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND AMOUNT STILL
RELATIONSHIP TO DEBTOR DATE OF PAYMENT AMOUNT PAID OWING

4. Suits and administrative proceedings, executions, garnishments and attachments
None a, List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of

Oo this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT COURT OR AGENCY STATUS OR

AND CASE NUMBER NATURE OF PROCEEDING AND LOCATION DISPOSITION

Freedom Mortgage Mortgage Foreclosure Miami Dade Final Judgment of Foreclosure
Corporation v. Salvador

Bianco

Case No. 2012-5126-CA-01

Broadcasting Board of Federal Labor Federal Labor Relations Decision Issued on September
Governors Authority 25, 2012.

v

American Federation of
Goverment Employees

None __b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
a preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not

filed.)
NAME AND ADDRESS OF PERSON FOR WHOSE DESCRIPTION AND VALUE OF
BENEFIT PROPERTY WAS SEIZED DATE OF SEIZURE PROPERTY

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5. Repossessions, foreclosures and returns

None List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
a returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

DATE OF REPOSSESSION,
NAME AND ADDRESS OF FORECLOSURE SALE, DESCRIPTION AND VALUE OF
CREDITOR OR SELLER TRANSFER OR RETURN PROPERTY

6. Assignments and receiverships

None a, Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
a this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

DATE OF :
NAME AND ADDRESS OF ASSIGNEE ASSIGNMENT TERMS OF ASSIGNMENT OR SETTLEMENT

None _b, List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
a preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not

filed.)
NAME AND LOCATION
NAME AND ADDRESS OF COURT DATE OF DESCRIPTION AND VALUE OF
OF CUSTODIAN CASE TITLE & NUMBER ORDER PROPERTY
7. Gifts

None List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
a and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF RELATIONSHIP TO DESCRIPTION AND
PERSON OR ORGANIZATION DEBTOR, IF ANY DATE OF GIFT VALUE OF GIFT
8. Losses

None List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
a since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE LOSS WAS COVERED IN WHOLE OR IN PART
OF PROPERTY BY INSURANCE, GIVE PARTICULARS DATE OF LOSS

9, Payments related to debt counseling or bankruptcy
None _List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation

0 concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
preceding the commencement of this case.

DATE OF PAYMENT, AMOUNT OF MONEY
NAME AND ADDRESS NAME OF PAYOR IF OTHER OR DESCRIPTION AND VALUE
OF PAYEE THAN DEBTOR OF PROPERTY
Kathy L. Houston, Esq May 14, 2013 1,200.00

2100 Coral Way, Suite 404
Miami, FL 33145

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10. Other transfers

None a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
a transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the

spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE, DESCRIBE PROPERTY TRANSFERRED
RELATIONSHIP TO DEBTOR DATE AND VALUE RECEIVED

None __ b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
a trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE DATE(S) OF VALUE OF PROPERTY OR DEBTOR'S INTEREST
TRANSFER(S) IN PROPERTY

11. Closed financial accounts

None _List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
a otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
include information conceming accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed.)

TYPE OF ACCOUNT, LAST FOUR
DIGITS OF ACCOUNT NUMBER, AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION AND AMOUNT OF FINAL BALANCE OR CLOSING

12. Safe deposit boxes

None List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
a immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not

filed.)
NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK OF THOSE WITH ACCESS DESCRIPTION DATE OF TRANSFER OR
OR OTHER DEPOSITORY TO BOX OR DEPOSITORY OF CONTENTS SURRENDER, IF ANY
13. Setoffs

None _List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
a commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATE OF SETOFF AMOUNT OF SETOFF

14, Property held for another person

None List all property owned by another person that the debtor holds or controls.
a

NAME AND ADDRESS OF OWNER DESCRIPTION AND VALUE OF PROPERTY LOCATION OF PROPERTY

15. Prior address of debtor

None If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
a occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
address of either spouse.

ADDRESS NAME USED DATES OF OCCUPANCY

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16. Spouses and Former Spouses

None If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
a Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
the community property state.

NAME
17, Environmental Information.
For the purpose of this question, the following definitions apply:

"Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
statutes or regulations regulating the cleanup of these substances, wastes, or material.

"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
owned or operated by the debtor, including, but not limited to, disposal sites.

"Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
pollutant, or contaminant or similar term under an Environmental Law

None _ a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
a or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,

the Environmental Law:

NAME AND ADDRESS OF DATE OF ENVIRONMENTAL
SITE NAME AND ADDRESS GOVERNMENTAL UNIT NOTICE LAW

None __b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
a Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

NAME AND ADDRESS OF DATE OF ENVIRONMENTAL
SITE NAME AND ADDRESS GOVERNMENTAL UNIT NOTICE LAW

None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
E the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT DOCKET NUMBER STATUS OR DISPOSITION

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18 . Nature, location and name of business

None a, If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
a ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
within six years immediately preceding the commencement of this case.

Uf the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
years immediately preceding the commencement of this case.

If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
years immediately preceding the commencement of this case.

LAST FOUR DIGITS OF

SOCIAL-SECURITY OR

OTHER INDIVIDUAL

TAXPAYER-LD. NO. BEGINNING AND
NAME (ITIN)/ COMPLETE EIN ADDRESS NATURE OF BUSINESS — ENDING DATES

None __b, Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
a

NAME ADDRESS

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

19. Books, records and financial statements

None a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
a supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS DATES SERVICES RENDERED

None __b, List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
a of account and records, or prepared a financial statement of the debtor.

NAME ADDRESS DATES SERVICES RENDERED

None __¢. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
BE of the debtor. If any of the books of account and records are not available, explain.

NAME ADDRESS

None d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
a issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS DATE ISSUED

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20. Inventories

None —_ a, List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
a and the dollar amount and basis of each inventory.

DOLLAR AMOUNT OF INVENTORY

DATE OF INVENTORY INVENTORY SUPERVISOR (Specify cost, market or other basis)
None __b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
a
NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY RECORDS

21. Current Partners, Officers, Directors and Shareholders

None a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
a

NAME AND ADDRESS NATURE OF INTEREST PERCENTAGE OF INTEREST

None __b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
RB controls, or holds 5 percent or more of the voting or equity securities of the corporation.

NATURE AND PERCENTAGE
NAME AND ADDRESS TITLE OF STOCK OWNERSHIP

22 . Former partners, officers, directors and shareholders

None a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
@ = —_ commencement of this case.

NAME ADDRESS DATE OF WITHDRAWAL

None __b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
a immediately preceding the commencement of this case.

NAME AND ADDRESS TITLE DATE OF TERMINATION

23 .. Withdrawals from a partnership or distributions by a corporation

None If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
a in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
commencement of this case.

NAME & ADDRESS AMOUNT OF MONEY
OF RECIPIENT, DATE AND PURPOSE OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR OF WITHDRAWAL VALUE OF PROPERTY

24. Tax Consolidation Group.

None If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated

a group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
of the case.
NAME OF PARENT CORPORATION TAXPAYER IDENTIFICATION NUMBER (EIN)

25. Pension Funds.

None If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND TAXPAYER IDENTIFICATION NUMBER (EIN)

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DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial aaa any attachments thereto
and that they are true and correct. ~

 

Date June 6, 2013 Signature

 

Salvador M Blanco
Debtor

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571

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B8 (Form 8) (12/08)

United States Bankruptcy Court
Southern District of Florida

Inre | Salvador M Blanco Case No.

 

Debtor(s) Chapter 7

CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
property of the estate. Attach additional pages if necessary.)

 

 

Property No. 1
Creditor's Name: Describe Property Securing Debt:
Freedom Mortgage Corporation Homestead:

1715 sw 23 Terrace, Miami, Florida 33145.
NEW SHENANDOAH PB 10-55 LOT 22
BLK 35 LOT SIZE

50.000 X 117 OR 21145-0286

04 2003 4 COC 24801-4422 07

2006 1 OR 26921-3923 0609 12

 

 

Property will be (check one):
O Surrendered @ Retained

If retaining the property, I intend to (check at least one):
CO Redeem the property

@ Reaffirm the debt
O Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)).

Property is (check one):
H@ Claimed as Exempt 0 Not claimed as exempt

 

 

 

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 

 

 

 

Property No. |
Lessor's Name: Describe Leased Property: Lease will be Assumed pursuant to 11
-NONE- U.S.C, § 365(p)(2):

O YES ONO

 

 

 

I declare under penalty of perjury that the above indicates my intention as to ACL of my estate securing a debt and/or

personal property subject to an unexpired lease.
be AD
Date June 6, 2013 Signature /s/ Salva Blanco

Salvador M Blanco
Debtor

 

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United States Bankruptcy Court
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Debtor(s) Chapter 7

 

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

 

 

For legal services, I have agreed to accept $ 1,200.00
Prior to the filing of this statement I have received. $ 1,200.00
Balance Due. $ 0.c0

 

2. $0.00 __ of the filing fee has been paid.

3. The source of the compensation paid to me was:

HI Debtor O Other (specify):

4. | The source of compensation to be paid to me is:

@ Debtor O Other (specify):
5. Ml [have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

0 I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6. In return for the above-disclosed fee, ] have agreed to render legal service for all aspects of the bankruptcy case, including:
a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

e. [Other provisions as needed]
Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC

522(f}(2)(A) for avoidance of liens on household goods.

7. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any

other adversary proceeding.

I hereby certify that I am admitted to the Bar of the United States District Court for the Southern District of Florida and | am in compliance with the
additional qualifications to practice in this court set forth in Local Rule 2090-1(A).

Respectfully submitted,

June 6, 2013 isi Kathy L. Houston, Esq
Dated Attorney for Debtor(s):
Kathy L. Houston, Esq

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